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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division


PRODUCE SOURCE PARTNERS, INC               ●>




                 Plaintiff,

        V.                                                  Civil Action No. 3:24cv55


7-ELEVEN, INC., et al,

                 Defendants.


                                  MEMORANDUM OPINION


       This matter comes before the Court on Defendants 7-Eleven, Inc., Joseph M. DePinto,

David Seltzer, and Stanley Reynold’s (collectively, the “Defendants”) Motion to Dismiss, or

Alternatively Transfer, the Amended Complaint (the “Motion”). (ECF No. 27.)' Plaintiff

Produce Source Partners, Inc. (“Produce Source”) responded in opposition to the Motion, (ECF

No. 31), and Defendants replied, (ECF No. 32).

       The matter is ripe for disposition. The Court dispenses with oral argument because the

materials before it adequately present the facts and legal contentions, and argument would not

aid in the decisional process.

       For the reasons articulated below, the Court will grant the Motion. (ECF No. 27.) The

Court will dismiss Counts 3-5 for lack of personal jurisdiction over the defendants named in

those counts. The Court will dismiss Counts 1-2 against 7-Eleven, Inc. for failure to state a




         The Court employs the pagination assigned by the CM/ECF docketing system.
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claim. Finally, were il to exercise supplemenlal jurisdiction^ over the slate law claims, the Court
would dismiss counts 6-7 for failure to stale a claim.

                            I. Factual and Procedural Background^

       A.      Factual Allegations


       Produce Source is ‘‘a Virginia corporation . . . engaged in the business of buying and

selling wholesale quantities of fresh fruits and vegetables 11 in interstate commerce, and was at

all relevant times subject to and licensed under the provisions of the Perishable Agricultural

Commodities Act ("PACA''). (F.CF No. 22        5.) 7-Eleven is "a Texas corporation having its

principal place of business in Irving, Texas" and "’was registered to do business in 11 Virginia[.]"

(ECF No. 22    6.) 7-Eleven was “engaged in the business of buying wholesale quantities of

Ipjroduce in interstate commerce, and was at all relevant limes subject to licensure under the

provisions of PACA as a dealer.” (ECF No. 22 ^ 6.)

       '‘Joseph M. DePinto is and was the Chief Executive Officer of 7-Fdcven . . . who

controlled the operations of 7-Elcven.” (ECl^ No. 22 ^ 7.) Plaintiff alleges that as Chief

Executive Officer, Mr. DePinto “ha[d] ultimate responsibility for the actions of 7-Eleven . . . and

was in a position of control over the PACA trust assets belonging to Plaintiff.” (ECF No. 22




       ^ 28 U.S.C. § 1367(a) stales, in pertinent part:
       |I|n any civil action of which the district courts have original jurisdiction, the
       district courts shall have supplemental jurisdiction over all other claims that arc so
       related to claims in the action within such original jurisdiction that they form part
       of the same case or controversy under Article III of the United States Constitution.

28 U.S.C. § 1367(a).

        ^ In considering the Motion, (ECF No. 27), the Court will assume the well-pleaded
factual allegations in the Amended Complaint to be true and will view them in the light most
favorable to Produce Source. Mylan Labs., Inc. v. Matkari, 1 F.3d 1130, 1134 (4th Cir. 1993);
see also Republican Parly ofN.C. v. Marlin, 980 F.2d 943, 952 (4th Cir. 1992).

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T| 7.) “David Seltzer is and was the Executive Vice President & Chief Financial Officer of 7-

1-lcvcn . . . responsible for the company's finance functions!.(ECF' No. 22     8 (internal

quotation marks omitted).) “In his role as Executive Vice President and Chief 1-inancial Officer,

[Mr.] Seltzer ... is and was in a position of control over the PACA trust assets belonging to

Plaintiff" (ECF No. 22    8.) “Stanley Reynolds is and was the President of 7-lfieven . . .

responsible for the financial, facility, and procurement operations of 7-Elcvcn|. ]" (ECF No. 22

t 9.) “[A]s a rcsult|. Mr. Reynolds] is and was in a position of control over the PACA trust

assets belonging to Plaintiff." (ECF No. 22 ^ 9.)

       Beginning on approximately June 1,2018, Produce Source “began selling wholesale

quantities of perishable agricultural commodities (‘Produce’) that had been moved in interstate

commerce or contemplation thereof... to 7-Eleven." (ECF No. 22         11.) "7-Eleven issued a

purchase order to [Produce Source] for all items it requested for purchase and delivery by

[Produce Source]." (ECF No. 22      12.) Produce Source then “delivered those items to a Central

Distribution Center (‘CDC’) operated by 7-Eleven, as designated by the Purchase Order", which

“listed the item type, quantity, and price that 7-Eleven agreed to pay for each item." (ECF No.

22 ^1 12-13.) Produce Source “generated an invoice for each Purchase Order listing all ofthc

items and prices shown on the Purchase Order issued by 7-Elevcn", and Produce Source

"delivered a copy of each invoice to 7-Eleven when the Produce and other goods were delivered

to the corresponding CDC." (ECF No. 22          14-15.) “7-Elcvcn issued lumpsum payments to

[Produce Source] for the Produce and other good purchased" that “indicated the CDC to which

the payment was to be applied", but “did not designate the invoice or invoices to be paid by the

lumpsum payment.     (ECF No. 22      16-18.)
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         "Between January 1, 2023, and September 21,2023, and pursuant to Purchase Orders

issued by 7-Blevcn, [Produce Source] sold and delivered to eleven (11) of 7-131evcn's various

CDCs Produce and other goods having an aggregate total value of $21,639,809.78." (EOF No.

22 ^ 19.) Produce Source alleges that it "issued invoices to 7-Eleven for all of the sales that arc

the subject of this Amended Complaint.'" (ECF No. 22        28.) 'fhe front of the invoices

contained the following language:

         The perishable agricultural commodities listed on this invoice are sold subject to
         statutory trust authorized by section 5(c) of the Perishable Agricultural
         Commodities Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains
         a trust claim over these commodities, all inventories of food or other products
         derived from these commodities, and any receivables or proceeds from the sale of
         these commodities until full payment is received.

         Interest at 1.5% added to unpaid balance. Buyer agrees to pay interest and
         reasonable attorney's fees incurred to collect any balance due hereunder. Pre-
         judgment interest and any attorney’s fees incurred to collect any balance due
         hereunder shall be considered sums owing in connection with this transaction under
         the PACA Trust.


 (ECF No. 22 ^n| 29-30.)

         "Between Januar>^ 25, 2023. and October 26, 2023, 7-Eleven issued lumpsum payments

to [Produce Source] totaling $18,215,560.41.” (ECF No. 22 ^ 20.) Produce Source "preserved

its interest in the PACA Trust for all of the Produce | | sold and delivered to 7-Eleven.’' (ECF

No. 22    31.) In 2023. Produce Source “issued price adjustments and credits to 7-Eleven . . .

totaling $247,009.00.    (ECF No. 22 ^ 21.) Therefore, “7-Eleven owes [Produce Source] the

total principal amount of $3,177,240.38 [J, plus interest and attorneys' fees.” (liCF No. 22 \*\ 22.)

Of the total principal amount, “7-Elcven owes [Produce Source] $837,183.32 for the Produce

sold to and accepted by 7-Eleven under the PACA[.]'*” (ECF No. 22 % 23.) Produce Source “has



        Produce Source alleges that “[a]t all relevant times, 7-Eleven operated subject to the
requirements of PACA.” (ECF No. 22 26.)
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repeatedly requested payment for the Produce and other goods, but 7-Eleven has failed to pay in

full/' (HCF No. 22 II 34.) As part of its breach of contract claim in Count 6 (but not in Counts

1-5). Produce Source says it “performed all the duties, obligations, and conditions precedent on

its part to be performed under the invoices." (ECF No. 22 ^1 103.)

       B.      Procedural Background


       On January 24, 2024, Produce Source filed the initial Complaint. (ECF No. 1.) On April

15. 2024, Produce Source filed the Amended Complaint, alleging the following causes of action;

       Count 1: Failure to Pay Trust Funds (against Defendant 7-Elevcn)
       Count 2: Failure to Make Prompt Payment (against Defendant 7-Elevcn)
       Count 3: Breach of Fiduciary Duty to Plaintiff (against Defendant DePinto)
       Count 4: Breach of Fiduciary Duty to Plaintiff (against Defendant Seltzer)
       Count 5: Breach of Fiduciary Duty to Plaintiff (against Defendant Reynolds)
       Count 6: Breach of Contract (against Defendant 7-Elevcn)
       Count 7: Unjust Enrichment (against Defendant 7-Elcvcn)

(ECF No. 22, at 6-13.) On May 13, 2024, Defendants filed their Motion to Dismiss. (ECF No.

27.) On June 10, 2024, after the Court granted a 14-day extension of time for Produce Source to

do so. (ECF No. 30, at 1), Produce Source timely responded, (ECF No. 31), and Defendants

replied, (ECF No. 32).

       For the reasons articulated below, the Court will grant Defendants* Motion to Dismiss for

lack of personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2) and for failure to

state a claim under Federal Rule of Civil Procedure 12(b)(6).   (ECF No. 27.)

                                     II. Standard of Review


       A.      Motion to Dismiss Under Rule 12(b)(2)


       "When personal jurisdiction is properly challenged under Rule 12(b)(2), the jurisdictional

question is to be resolved by the judge, with the burden on the plaintiff ultimately to prove

grounds for jurisdiction by a preponderance of the evidence.’* Careji'rsi of Mel, Inc. v. Careifrst


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Pregnancy Cirs., Inc., 334 F.3d 390, 396 (4lh Cir. 2003). When a district court considers a

challenge to personal jurisdiction without conducting an evidentiary hearing, the plaintiff need

only make a prima facie showing of personal jurisdiction, rather than show jurisdiction by a

preponderance of the evidence. Id \ see also Combs v. Bakker. 886 F.2d 673. 676 (4th Cir.

1989); Machulsk)> v. Hall, 210 F. Supp, 2d 531, 537 (D.N.J. 2002) (*'[A]t no point may a plaintiff

rely on the bare pleadings alone in order to withstand a defendant's Rule 12(b)(2) motion to

dismiss for lack of personal jurisdiction." (quoting Patterson v. Fed. Bureau of Investigation,

893 F.2d 595. 603-04 (3d Cir. 1990)).). In straightforward cases, like the one before the Court,

"the Court may resolve [a 12(b)(2) motion] based on the affidavits and the supporting

documents” without a hearing. Initiatives Inc. v. Korea Trading Corp., 991 F. Supp. 476, 477-

78 (E.D. Va. 1997).

         fhe court, in deciding whether a plaintiff has met th[e] burden [of making a prima facie

case supporting personal jurisdiction], must construe all relevant pleading allegations in the light

most favorable to the plaintiff, assume credibility, and draw the most favorable inferences for the

existence of jurisdiction.” Brooks v. Motsenbocker Advanced Devs., Inc., 242 I’. App‘x 889, 890

(4th Cir. 2007). Still, a plaintiff cannot rely on "bare pleadings alone” alter a defendant properly

challenges personal jurisdiction. Machulsky, 210 F. Supp. 2d at 537 (citation omitted). Instead.

"the plaintiff must sustain its burden of proof in establishing jurisdictional facts through sworn

affidavits and competent evidence .... [A] plaintiff must respond with actual proolj ], not mere

allegations.” Id. (citation omitted); see also Williams v. First Plus Home Loan Trust 1996-2, 209

F.R.D. 404, 410 (W.D. Tenn. 2002) (concluding that a court need not "'ignore undisputed factual




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representations of the defendant which are consistent with the representations of the plaintiffs

(quoting Keny Steel v. Paragon Indus., Inc., 106 F.3d 147, 153 (6th Cir. 1997))).

       Federal courts exercise personal jurisdiction in the manner provided by state law. Ncm>

Wellington Fin. Corp. v. Flagship Resort Dev. Corp., 416 F.3d 290. 294 (4th Cir. 2005).

'Ihcrefore, a district court must first decide whether Virginia state law permits the court to

exercise personal jurisdiction over the defendant, and second, whether the exercise of such

jurisdiction comports with the due process requirements of the Fouileenth Amendment. Id.\

Christian Sci. Bd. ofDirs. ofthe First Church ofChrist, Scientist v. Nolan, 259 F.3d 209, 215

(4th Cir. 2001); ESAB Group. Inc. v. Centricut, Inc., 126 F.3d 617. 622 (4th Cir. 1997).

       ■'Because Virginia’s long-arm statute extends personal jurisdiction to the extent permitted

by the Due Process Clause, 'the statutor>^ inquiiy necessarily merges with the constitutional

inquiry, and the two inquiries essentially become one.'" Young v. New Haven Advocate, 315

F.3d 256, 261 (4th Cir. 2002) (quoting            v. O’Connell Assocs., //?c.,84F.3d 132, 135-36

(4th Cir. 1996)) (internal citation omitted). Accordingly, the inquiry becomes whether the

defendants maintain sufficient minimum contacts with the forum state so as not to offend


"traditional notions of fair play and substantial justice.*’ Ini 7 Shoe Co. v. Washington, 326 U.S.

310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)).

       '■The standard for determining the existence of personal jurisdiction over a nonresident

dclendant varies, depending on whether the defendant’s contacts with the forum state also

provide the basis for the suit." Carejirsl, 334 F.3d at 397. "If the defendant's contacts with the

State are also the basis for the suit, those contacts may establish specific jurisdiction. . . . [l]f the

defendant's contacts with the State are not also the basis for suit, then jurisdiction over the


defendant must arise from the defendant’s general, more persistent, but unrelated contacts with



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ihc Stale.ALSScan. Inc. v. Digital Serv. Consultants, Inc., 293 F.3d 707, 712 (4th Cir. 2002)

(citing Helicopteros Nacionales de Columbia, S.A. v. Hall, 466 U.S. 408. 414 n.9 (1984)).

        'I'he United Slates Court of Appeals lor the Fourth Circuit has adopted a three-part lest to

determine whether specific jurisdiction exists. Reynolds Foil Inc. v, Fai, No. 3:09cv657 (HFII),

2010 WL 1225620, at *2 (E.D. Va. Mar. 25, 2010). The Court must consider: '‘(1) ihe extent to

which the defendant purposefully avail|ed] itself of the privilege of conducting activities in the

Slatc;*^’* (2) whether the plaintiffs' claims arise out of those activities directed at the State;l^l


        5
          General jurisdiction exists only when a defendant’s "‘affiliations with the |s|tatc arc so
"continuous and systematic’* as to render [it] essentially at home in the forum [s|tatc.”' Daimler
AC V. Bauman, 571 U.S. 117, 139 (2014) (quoting Goodyear Dunlop Tires Operations, S.A. v.
Brown, 564 U.S. 915, 919 (2011)) (emphasis added). Nothing in the record indicates, and
Plaintiff does not contend, that Defendants engaged in "continuous and systematic” activities
within Virginia. ALS Scan, 293 F.3d at 712. Consequently, the Court’s inquiry focuses on
whether each Defendant’s conduct allows the Court to exercise specific personal jurisdiction
over each Defendant.


        ^ With respect to the first factor, "no clear formula [exists] for determining what
constitutes 'purposeful availment.’’’ Reynolds Foil, 2010 WL 1225620, at *2. However, the
Supreme Court long has held that the purposeful availment prong of the personal jurisdiction
analysis can be met if a defendant’s ‘intentional conduct [in the foreign state was] calculated to
cause injury to [the plaintiff| in [the forum state].” Colder Jones, 465 U.S. 783, 791 (1984)
(".lurisdiction over petitioners is therefore proper in California based on the ‘effects’ of their
I'lorida conduct in California.”). Colder, however, does not vest jurisdiction in a state merely
because it serves as the locus of the plaintiffs injury. See Walden v. Fiore, 571 U.S. 277, 290
(2014) (“[MJere injury to a forum resident is not a sufficient connection to the forum.”).

        'fhe “proper question is not where the plaintiff experienced a particular injury or effect
but whether the defendant’s conduct connects him to the forum in a meaningful way.'" Id.
(emphasis added); see also ESAB, 126 F.3d at 626 (“Although the place that the plaintiff feels
the alleged injury is plainly relevant to the inquiry, it must ultimately be accompanied by the
defendant’s own contacts with the state if jurisdiction over the defendant is to be upheld.”).

            “The second prong of the test for specific jurisdiction . . . requires that the defendant’s
contacts with the forum state form the basis of the suit.” Consulting Eng'rs, 561 F.3d at 278-79
(citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985); Helicopteros, 466 U.S. at
414). The Court need not address this prong because Defendants do not meet the “purposeful
availmenf prong of the analysis. SeeALSScan, 293 F.3d at 712.
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                                                                                                     v8
and[.| (3) whether the exercise of personal jurisdiction would be constitutionally reasonable.

ALSScan, 293 F.3d at 712 (first alteration in original) (internal quotation marks omitted). ”If,

and only if. . . the plaintiff has satisfied this first prong of the test for specific Jurisdiction need

jlhc Court] move on to a consideration of prongs two and three."' Considling Eng'rs Carp. v.

Geometric Ltd. 561 F.3d 273, 278 (4th Cir. 2009).

        B.      Motion to Dismiss Under Rule 12(b)(6)


        "A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a complaint;

importantly, it docs not resolve contests surrounding the facts, the merits of a claim, or the

applicability of defenses." Republican Party of N.C. v. Martin. 980 F.2d 943, 952 (4th Cir.

1992) (citing 5A Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure § 1356

(1990)). To survive Rule 12(b)(6) scrutiny, a complaint must contain sufficient factual

information to "state a claim to relief that is plausible on its face."' Bell Atl. Corp. v. Twombly.

550 U.S. 544, 570 (2007); see also Fed. R. Civ. P. 8(a)(2) ("A pleading that states a claim for

relief must contain ... a short and plain statement of the claim showing that the pleader is

entitled to relief'’). Mere labels and eonclusions declaring that the plaintiff is entitled to relief

arc not enough. Twombly. 550 U.S. at 555. Thus, "naked assertions of wrongdoing necessitate

some factual enhancement within the complaint to cross the line between possibility and

plausibility of entitlement to relief” Francis v. Giacomelli, SSSV.3d 186, 193 (4th Cir. 2009)

(quoting Twombly, 550 U.S. at 557) (internal quotation marks omitted).




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          The third prong of the specific jurisdiction test “permits a court to consider additional
factors to ensure the appropriateness of the forum once it has determined that a defendant has
purposefully availed itself of the privilege of doing business there.” Consulting Eng'rs., 561
F.3d at 279. 'fhc Court need not address this prong for the reasons stated above.
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        A complaint achieves facial plausibility when the facts contained therein support a

 reasonable inference that the defendant is liable for the misconduct alleged. Twombly, 550 U.S.


 at 556; see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This analysis is context-specific

 and requires "the reviewing court to draw on its judicial experience and common sense.“

 Giacomelli, 588 F.3d at 193 (citation omitted). The court must assume all well-pleaded factual

 allegations to be true and determine whether, viewed in the light most favorable to the plaintiff,

 they "plausibly give rise to an entitlement to relief Iqbal, 556 U.S. at 679; see also Kensington

 Volunteer Fire Dep 7, Inc. v. Montgomery Cnty, Md., 684 F.3d 462, 467 (4th Cir. 2012)

 (concluding that the court in deciding a Rule 12(b)(6) motion to dismiss “'must accept as true all

 of the factual allegations contained in the complaint' and 'draw all reasonable inferences in favor

 of the plaintiff” (quoting E.I. dii Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435,

 440 (4th Cir. 2011))).

                                            III. Analysis


        Produce Source brings seven claims: four against 7-Eleven and one against each

 Individual Defendant. (ECF No. 22, at 6-14.) Produce Source’s claims against 7-Elcven arc

 failure to pay trust funds, failure to make prompt payment, breach of contract, and unjust

 enrichment. (ECF No. 22, at 6-7, 12-14.) Produce Source also brings claims for breach of

 fiduciary duty against .loseph M. DePinto, David Seltzer, and Stanley Reynolds (collectively the

 "Individual Defendants”). (ECF No. 22, at 7-12.) The Individual Defendants request that the

 Court dismiss the Amended Complaint for lack of personal jurisdiction. (ECl' No. 27, at 1.) All

 Defendants request that the court dismiss the Amended Complaint for failure to state a claim.

 (ECF No. 27, at 1.) In the alternative, all Defendants request that the Court transfer the case to

 the Northern District of Texas. (ECF No. 27, at 1.) Because Produce Source: (1) fails to



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 establish personal jurisdiction over the Individual Defendants, (2) fails to state a claim for relief

 against 7-Eleven, and (3) would idil to establish state law claims of breach of contract or unjust

 enrichment even if the Court to exercise supplemental jurisdiction, the Court will grant

 Defendants* Motion to Dismiss. (ECE No. 27.)

        A.      Produce Source Does Not Establish Specific Personal Jurisdiction Over the
                Individual Defendants in Counts 3-5


        Produce Source's allegations arc insufficient to make a prima facie showing that the

 Individual Defendants "purposefully avail[edj" themselves of conducting activities in Virginia.

ALS Scan, 293 F.3d at 712; see also Careifrst, 334 F.3d at 397. First, Produce Source contends

 that “this Court has personal jurisdiction over [the Individual] Defendants because they were

 fiduciaries of the PACA trust, which arose in Virginia[.]” (ECF No. 31, at 17-18.) Flowever.

 the Individual Defendants’ mere role as fiduciaries of the PACA trust is insufficient to allow this


 Court to exercise personal jurisdiction over them. Inclep. Printers Worldwide, Inc. v. Cole, No.

 3:15-cv-185 (.lAG), 2015 WL 4705507, at *5 (E.D. Va. Aug. 6, 2015) (“[Pjersonal jurisdiction

 over an individual officer, director, or employee of a corporation docs not automatically follow

 from personal jurisdiction over the corporation .... Personal jurisdiction must be based on an

 individual’s personal contacts or purposeful availmcnt of the forum stale.’’) (internal quotation

 marks and citation omitted).

         Second. Produce Source contends that the “Court exercises specific jurisdiction over the

 Individual Defendants because the injuries arise from their control over 7-Eleven, its operations,

 and the PACA Trust within Virginia,’* including the Individual Defendants’ “failure] to direct 7-

 Elcven to issue payment from the PACA trust and/or to properly maintain the PACA trust.’*

 (ECF No. 31, at 18-19.) In analyzing whether an entity has purposefully availed itself of

 engaging in activities in a forum slate, the Court “look[s] to the quality and nature ol the

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contacts[.r See Consulling Eng'rs, 561 F.3d at 279. Produce Source alleges that Mr. DePinlo

 "controlled the operations of 7-Eleven’* '‘and was in a position oi'control over the PAG A trust

 assets belonging to [Produce Source].*’ (ECF No. 22     7.) Produce Source similarly states that

 Mr. Seltzer "was responsible for controlling the financial operations of 7-ldeveir” "and was in a

 position of control over the PACA trust assets belonging to [Produce Source].” (ECF No. 22

^1 8.) Finally, Produce Source says that Mr. Reynolds "was responsible for the Financial, facility,

 and procurement operations of 7-Elevcn and as a result is and was in a position of control over

 the PACA trust assets belonging to [Produce Source].” (ECF No. 22 \*\ 9.)

        Produce Source’s claims regarding the Individual Defendants’ contacts with Virginia boil

 down to vague allegations of "control over the PACA trust assets belonging to ] Produce

 Source].*’ (ECF No. 22     7-9.) Yet Produce Source’s Amended Complaint is bereft of any

 allegations respecting the Individual Defendants’ contacts with Virginia. This docs not, even

 read favorably, suggest that this Court could exercise personal jurisdiction over these defendants.

 By comparison, another court in this district concluded that it lacked personal jurisdiction over

 Oklahoma defendants even though one defendant visited Virginia, signed a consulting agreement

 on behalf of a corporate entity with a Virginia company, and exchanged "dozens if not hundreds

 of emails and telephone calls” with individuals in Virginia and another defendant signed four

 agreements involving Virginia companies but engaged in fewer communications. See Cole.

 2015 WL 4705507, at *4. Despite this level of interaction that far exceeds any presented here.

 the Cole court concluded that it would "offend 'traditional notions of fair play and substantial




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justice'" to exercise personal jurisdiction over these Oklahoma defendants. See Cole, 2015 WL

 4705507. at *6 (quoting Inf 7 Shoe, 326 U.S. at 316). So too here.

        Moreover, the Amended Complaint is devoid of any '‘non-cxelusivc factors" courts

 consider when deciding '‘whether a defendant has engaged in [] purposeful availmenl.’'

 Consulting Eng 'rs. ,561 F.3d at 278. Produce Source docs not allege that the Individual

 Defendants maintained offices in Virginia. See id. Produce Source does not allege that the

 Individual Defendants owned property in Virginia. See id. Nor docs Produce Source allege that

 the Individual Defendants solicited business in Virginia or engaged in any in-person contact in

 Virginia. See id. at 280. No communications, signed agreements, or visits from any individual

 defendant arc in the record before the Court. See Cole, 2015 WL 4705507. at *5. The dearth of


 contacts alleged by Produce Source does not support the conclusion that—read even most

 favorably—the Individual Defendants purposefully availed themselves of the privilege of doing

 business in Virginia. Consulting Eng'rs., 561 F.3d at 279-80 (finding a corporate defendant’s

 contact with a state too attenuated to justify the exercise of personal jurisdiction when the

 defendant "did not have officers or employees in Virginia, [] did [noil own property there, [and]

 had no on-going business activity in Virginia”).

        Finally, Produce Source asserts that “[bjecause the trust and the fiduciary duties to

 preserve those assets arose in Virginia, the breach of those fiduciary duties by failing to preserve

 those assets and/or turn them over to Plaintiff also occurred in Virginia.” (ECF No. 31. at 20.)


 This again falls well short of plausible allegations of a claim. ‘“The proper question is not where

 the plaintiff experienced a particular injury or effect but whether the defendant’s conduct

 connects him to the forum in a meaningful way.'" McNeil v. Biaggi Prods., LLC, No. 3:15cv751




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(MHL). 2017 WL 2625069, at *7 (E.D. Va. June 16, 2017) (emphasis in original) (quoting

 Walden, 51 \ U.S.at290).

        Because the Court may not exercise personal jurisdiction over the Individual Defendants,

 the Court will dismiss Counts 3, 4, and 5 of the Amended Complaint'/^ (ECF No. 22, at 7-12.)

        B.      Produce Source Fails to State a Claim Against 7-EIcvcn


                1.       Produce Source Fails to State a Claim for Violations of PACA
                         Against 7-Eleven


        Produce Source fails to state a claim under PACA in Counts 1 and 2 because-          ●as a



 threshold matter-   ●it fails to plausibly allege that the goods for which it alleges 7-Eleven failed to

 pay constituted "perishable agricultural commodities.       Carter v. Michael Cutler Co., No.

 1:12cv95, 2013 WL 4788283, at *5 (M.D.N.C. Sept. 6, 2013), recommendation adopted, 2013

 WL 12304562 (M.D.N.C. Oct. 18, 2013). As to Count 1, Produce Source further fails to

 plausibly allege that it "provided written notice of its intent to preserve its rights under PACA

 within 30 days after payment became due. ' Id. (emphasis added). As to Count 2, Produce

 Source fails to plead facts regarding when 7-Eleven accepted the goods. As a result of these

 defects, Produce Source’s Amended Complaint fails to “give [7-Elcvcn ] fair notice of what the

 . . . claim is and the grounds upon which it rests.     Twombly, 550 U.S. at 555 (second alteration

 in the original) (citation and internal quotation marks omitted).




          The Court denies Produce Source’s request for "authority to conduct limited discovery
 regarding Individual Defendants’ activities within Virginia” if the “Court determines that
 Plaintiff has not asserted prima facia evidence of this Court’s jurisdiction over Individual
 Defendants.” (ECF No. 31, at 21.) “When a plaintiff offers only speculation or conclusory
 assertions about contacts within a forum state, a court is within its discretion in denying
jurisdictional discovery.” Careifrst, 334 F.3d at 402.


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                           a.     Anplicabic Law


          "PACA governs transactions involving perishable agricultural commodities, which arc

defined as fresh fruits and fresh vegetables of every kind and character (hereinafter 'produce').

Coaslaf Sunhelf Produce, No. 1:16cv449 (TCB), 2016 WL 5661558, at *3 (K.D. Va. Sept. 1,

2016), recommendation adopted, 2016 WL 5662019 (E.D. Va. Sept. 29, 2016) (citing 7 U.S.C.

  499a(b)(4)). '"Buyers that receive or contract to receive at least 2,000 pounds of produce in any

day, in interstate or foreign commerce, are considered 'dealers' under and arc subject to the
          ’■10
 PACA."          Coastal Sunbelt, 2016 WL 5661558, at *3 (citing 7 U.S.C. 499a(b)(6); 7 C.F.R.

 §§ 46.2(m), 46.2(x)). “Under PACA, commission merchants, dealers, and brokers hold, in trust,

 the produce and any proceeds from the sale of such produce for the benefit of unpaid produce

 sellers until full payment has been made.     Carter, 2013 WL 4788283, at *5 (citing 7 U.S.C. §

 499e(c)(2)).

          ""A trust beneficiary may [] seek to enforce payment from the trust in a federal district

 court.    Coastal Sunbelt, 2016 WL 5661558, at *3. “To become a valid PACA trust beneficiary:

 (1) the produce in question must be "perishable agricultural commodities"; (2) the commodities

 must have been received by a commission merchant, a dealer, or broker; and (3) the claimant

 must have provided written notice of its intent to preserve its rights under PACA within 30 days

 after payment became due.” Carter, 2013 WL 4788283, at *5 (quoting C & G Farms, Inc. v.

 Capstone Bus. Credit, LLC, CV F09-0032, 2011 WL 677487, at *5 (E.D. Cal. Feb. 17, 2011)).




           10
           Per the Amended Complaint, 7-Eleven is a dealer subject to PACA. (ECF No. 22
    24, 26 (stating that “7-Eleven received more than 2,000 pounds of produce in a given day well
 before the transactions at issue” and that "'[a]t all relevant times, 7-Elevcn operated subject to the
 requirements of PACA”)).
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 Thus, to stale a claim for failure to pay trust funds under PACA, a plaintiff must plead facts

 demonstrating that it satisfies all three elements necessary to be a PACA trust beneficiary.

                         b.      Produce Source’s Claim for Failure to Pay Trust Funds in
                                 Count 1 Falters

          First. Produce Source fails to allege sufficient facts demonstrating that the goods for

 which it alleges 7-Eleven failed to pay constituted “perishable agricultural commodities.”

 Carter, 2013 WL 4788283, at *5. While Produce Source generally alleges that beginning on or

 around June 1, 2018. it sold “perishable agricultural commodities . . . that had been moved in

 interstate commerce ... to 7-Eleven”, (ECF No. 22 ^ 11), it fails to plausibly allege facts

 showing that the specific goods that 7-Eleven failed to pay for were perishable agricultural

 commodities. Produce Source broadly alleges that “[b]etween January 1,2023 and September

 21. 2023, and pursuant to Purchase Orders issued by 7-Eleven, Plaintiff sold and delivered to

 eleven (11) of 7-Eleven's various CDCs Produce and other ^oods having an aggregate value of

 $21,639,809.78.” (ECF No. 22        19 (emphasis added).) Produce Source alleges that “[b]etwcen

 January 25, 2023, and October 26, 2023, 7-Eleven issued lumpsum payments to Plaintiff[.]"

 (ECF No. 22      20.) “The lumpsum payments did not designate the invoice or invoices to be paid

 by the lumpsum payment.” (ECF No. 22          18.) Without identifying even one invoice or

 consequent non-payment, Produce Source then asserts that 7-Eleven owes an “aggregate value

 [for] the Produce and other goods sold and delivered to 7-Elcven,” or a “Total Principal Debf of

 “$3,177,240.38.” (ECF No. 22 ^ 22.)

          Produce Source alleges—again without specificity—-that “[o]f the Total Principal Debt,

 7-Eleven owes Plaintiff $837,182.32 for the Produce sold to and accepted by 7-Eleven under the

 PACA.” (ECF No. 22 ^ 23.) But this claim is conclusory. The Amended Complaint lacks even

 one   plausible allegation of a specific instance of failed payment supporting its naked assertion of

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 the total amounts owed, or its (oddly delayed)*' conclusory allegation that it ’'performed all the

 duties, obligations, and conditions precedent on its part to be performed under the invoices."

 (KCF No. 22 H 103.)

        Produce Source does not plead facts showing which debt 7-Eleven owes is for perishable

 agricultural commodities as opposed to other goods. It does not attach to its pleadings any

 invoices or otherwise specify which goods it claims it sold to 7-Eleven, when they were

 delivered to or accepted by 7-Elevcn, or how much of the lumpsum payments were applied to

 each invoice. Courts in this district have found that a plaintiff states a claim for failure to pay


 under PACA when the plaintiff’s allegations identify the specific type “perishable agricultural

 commodities" or goods at issue (and the amount owed). See, e.g., Turkey Knob Growers, Inc. v.

 East Coast Impex LLC, No. 1:18-cv-01295 (TSE/IDD), 2019 WL 3729002, at *3-4 (E.D. Va.

 .luly 22, 2019) (citing exhibit to complaint containing invoices showing product type, as well as

 price, amount, and ship date), recommendation adopted, 2019 WL 3728258 (E.D. Va. Aug. 7,

 2019); Coastal Sunbelt, 2016 WL 5661558, at *3 (citing exhibit to motion for default judgment

 containing invoices showing product type, as well as price, amount, and order date). Simply

 labeling the goods at issue ’’perishable agricultural commodities” without pleading facts to

 support that conclusion insufficiently meets element one of the test to establish that Produce

 Source is a valid PACA trust beneficiary, and cannot to survive a motion to dismiss. See

 Twomhly, 550 U.S. at 555. This is especially true when over $2 million of “other” (also

 unidentified) goods appear in the Amended Complaint. (ECF No. 22             22-23.)




         " Produce Source offers this conclusory allegation only as to Count 6, not as to Counts
 1-5. (to ECF No. 22 If 103.)
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        Second, Produce Source fails to adequately allege the third element of a failure to pay

 claim under PACA-      that it "provided written notice of its intent to preserve its rights under

 PACA within 30 days after payment became due.'' Carter, 2013 WL 4788283, at *5 (emphasis

 added). Produce Source does not plead facts showing when payment became due for the goods

 it sold to 7-Eleven. Thus, while it generally alleges that its “invoices contain . . . language

 required by 7 U.S.C. § 499e(c)(4) to preserve its rights under the PACA Trust”, (ECF No. 22

   28-29). it fails to plead that this written notice was provided within 30 days after payment

 became due. As in Count 1, Count 2 insufficiently pleads a portion of the PACA beneficiary test

 and cannot, therefore, stale a claim under PACA for failure to pay trust funds.

                        c.      Produce Source’s Claim for Failure to Make Prompt Payments
                                in Count 2 Falters


        Produce Source similarly fails to adequately state a claim in Count 2 for failure to make

 prompt payment under PACA. As explained above, Produce Source insufficiently pleads a

 portion of the PACA beneficiar>' test by failing to show that the goods at issue are perishable

 agricultural commodities, 'fherefore. Produce Source fails to state a claim for failure to make

 prompt payments under PACA.

        Further, Produce Source’s claim in Count 2 fails because it fails to plead facts regarding

 precisely when 7-Eleven accepted the goods at issue. “PACA requires dealers to make prompt

 payment with respect to any transaction of produce.” Coastal Sunbelt, 2016 WL 5661558, at *4

 (citing 7 U.S.C. § 499b(4)). '“Prompt payment’ for produce purchased by a buyer is defined by

 ten days after the day on which the buyer accepted the produce.” Id. (citing 7 C.F.R. §

 46.2(aa)(5)). ‘‘If a party is injured by such a violation, that party may recover its damages from

 the buyer.’’ Id. (citing 7 U.S.C. § 499e(a)-(b)). Produce Source fails to plead facts plausibly
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 showing when 7-Eleven accepted the goods. Thus, it fails to state a claim for failure to make

 prompt payment.

                2.       The Court Declines to Exercise Supplemental .Jurisdiction, but
                         Produce Source Would Fail to State a Claim in Counts 6 and 7
                         Even if it Did

        The two remaining counts allege state law claims over which the Court does not

 have original jurisdiction.'^ The Court declines to exercise supplemental jurisdiction

 under 28 U.S.C. § 1367. See Carlsbad Tech., Inc. v, HIFBio, Inc., 556 U.S. 635, 639

 (2009) C‘A district court's decision whether to exercise [subject matter] jurisdiction after

 dismissing every claim over which it had original jurisdiction is purely discretional^'.'').

 But even if it were to analyze the two state law claims in Counts 6 and 7, Produce Source

 would fail to state a claim.


                         a.      Were the Court to Exercise Supplemental Jurisdiction,
                                 Produce Source Would Fail to State a Claim for Breach
                                 of Contract in Count 6

         Were this Court to reach it, Produce Source would fail to state a claim for breach of

 contract under Virginia law in Count 6 of its Amended Complaint because it fails to plead facts

 plausibly showing ”a legally enforceable obligation” of 7-Eleven. Filak v. George, 594 S.E.2d

 610, 614 (Va. 2004). To state a elaim for breach of contract under Virginia law,'^ a plaintiff




            '‘|ljn any civil action of which the district courts have original jurisdiction, the district
 courts shall have supplemental jurisdiction over all other claims that arc so related to claims in
 the action within such original jurisdiction over a claim that they form part of the same case or
 controversy.” 28 U.S.C. § 1367(a). “The district courts may decline to exercise supplemental
jurisdiction over a claim under subsection (a) if. . . the district court has dismissed all claims
over which it had original jurisdiction.” 28 U.S.C. § 1367(c)(3).
           “Except in matters governed by the Federal Constitution or by acts of Congress, the
law to be applied in any case is the law of the state.'' Erie R. Co. v. Tompkins, 304 U.S. 64, 78
(1938). Under Virginia law, “[i]n the absence of an enforceable agreement on choice oflaw, the
contract is governed by the law of Virginia.” Va, Code § 59.1-501.9(b). Neither party presents
                                                     19
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 must plausibly allege: (1) a legally enforceable obligation of a defendant to a plaintiff; (2) the

 defendant's violation or breach of the obligation; and, (3) an injury or harm caused by the

 defendant's breach. Id.


        Produce Source’s Amended Complaint alleges that 7-Eleven issued purchase orders to

 Produce Source containing "the item type, quantity, and price that 7-Elevcn agreed to pay for

 each item” and that Produce Source “generated an invoice for each Purchase Order listing all of

 the items and prices shown on the Purchase Order issued by 7-Eleven.” (ECP No. 22            13-14.)

 But Produce Source fails to append the purchase orders or invoices to its Amended Complaint or

 otherwise indicate the type, quantity, or price of the goods at issue. “Without specificity of

 terms, there is no contract.” Dean v. Morris, 756 S.E.2d 430, 433 (Va. 2014) (stating that in

 order to be binding, an agreement “must be sufficiently definite to enable a court to give it an

 exact meaning”). As with its federal law claims under PACA, Produce Source’s conclusory

 allegation that “Plaintiffs invoices to 7-Elcven constitute valid and enforceable agreements

 between the Panics” is insufficient to show “a legally enforceable obligation.      Filak, 594


 S.E.2d at 614; see also Walsh v. Bank of America, NA, No. 1:11-cv-l 168 (AJT), 2012 WL

 13020695, at *2 (E.D. Va. Feb. 15, 2012) (dismissing breach of contract claim when plaintiff

 failed to allege "the specific contractual provisions that [J defendants breached, the specific

 conduct of each defendant that allegedly violated each identified contractual provision, and the

 dates on which the alleged conduct occurred”); see also Xia Bi v. McAidiffe, No. 1:17-cv-01459

 (CMI I), 2018 WL 10483857, at *2 (E.D. Va. Mar. 30, 2018) (dismissing breach of contract




 evidence of an agreement on choice of law. Therefore, Virginia law governs the Court’s analysis
 of Produce Source’s breach of contract claim.

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 claim when plaintiff did "not cite to any specific provisions in the Agreement that Defendants

 arc alleged to have breached”).

        Even if the Court were to reach Count 6, Produce Source would fail to state a claim for

 breach of contract under Virginia law.

                        b.      Were the Court to Exercise Supplemental Jurisdiction,
                                Produce Source Would Fail to State a Claim for Unjust
                                Enrichment in Count 7

        Finally, were the Court to reach the Virginia law unjust enrichment claim in Count 7 of

 the Amended Complaint, it would dismiss the claim because Produce Source fails to identify the

 benefit it conferred upon 7-Elcven so as to “give [7-Eleven] fair notice of what the . . . claim is

 and the grounds upon which it rests.” Twombly, 550 U.S. at 555 (second alteration in the

 original) (citation and internal quotation marks omitted). To state a claim for unjust enrichment

 under Virginia law, a plaintiff must plausibly allege: “(I) the plaintiff conferred a benefit on the

 defendant, (2) the defendant knew of the benefit eonferred, and (3) the defendant aceepted or

 retained the benefit under eircumstanccs rendering it inequitable for the defendant to do so

 without paying for its value.” Daniel v. Wells Fargo Bank, N.A., No. 1:13-cv-00612 (GBL),

 2013 WL 5723704, at *8 (E.D. Va. Oct. 17, 2013) (citing Schmid! v. Household Finance Corp.,

 661 S.E.2d 834, 838 (Va. 2008)). As discussed above. Produce Source fails to allege the types

 or quantities of goods at issue, the prices at which Produce Source sold the goods, or dales on

 which 7-Elcven allegedly accepted the goods. Without this information, Produce Source’s claim

 that "7-Elcvcn has been unjustly enriched in the amount of $3,177,240.38 by failing to pay

 Plaintiff for the Produce and other goods it received from Plaintiff’ is conclusory and would fail

 to fairly apprise 7-Elcven of the nature of the claim.




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         Even if the Court were to reach Count 1, Produce Source would fail to state a claim for

 unjust enrichment under Virginia law.

         C.     The Court Will Deny Produce Source’s Procedurally Improper Request for
                Leave to Amend


         In its response to Defendants’ Motion, Produce Source “respectfully requests that it be

 granted leave to [a]mend” “[tjo the extent the Court finds any Count fails to allege a claim upon

 which relief can be granted or that this Court lacks personal Jurisdiction over the Individual

 Defendants[.]’' (ECF No. 31, at 21.) However, Produce Source failed to file a motion for leave

 to amend or present the Court with a proposed Second Amended Complaint. Produce Source has

 “not met the requirements for filing a request for leave to amend other Federal Rules of Civil

 Procedure 7(b) and 15(a)[.j” Employees' Ret. Sys. of the City oflkiton Rouge and Parish of East

 Baton Rouge v. Macrogenics, Inc., 61 F.4lh 369, 394 (4th Cir. 2023). Thus, the Court will deny

 Produce Source’s request for leave to amend.

                                             IV.   Conclusion


         For the reasons articulated above, the Court will grant Defendants’ Motion to Dismiss.

 (ECF No. 27.) The Court will dismiss without prejudice Plaintiffs Amended Complaint. (ECF

 No. 22.)

         An appropriate Order shall issue.
                                                                                 /
 Date:      ZIZHIZS                                                M. Hann^Jla 1^ ^
 Richmond, Virginia                                                United Stitel DiStnet Judge




                                                     22
